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                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

GEORGE ANIBOWEI,                                                 §
         Plaintiff,                                              §
                                                                 §
v.                                                               § Civil Action No. 3:16-CV-3495-D
                                                                 §
LORETTA LYNCH, et al.,                                           §
         Defendants.                                             §

                                                            ORDER

          Pursuant to the Order of Reference, filed April 11, 2017, before the Court for recommendation

is Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint, filed April 10, 2017 (doc. 13).

          Respondent may file a response and brief containing citations to relevant authorities1 no later

than Monday, May 1, 2017. Movant may file a reply no later than Monday, May 15, 2017.

          At this time, no hearing will be scheduled on this matter.

          SO ORDERED on this 11th day of April, 2017.



                                                                        ___________________________________
                                                                        IRMA CARRILLO RAMIREZ
                                                                        UNITED STATES MAGISTRATE JUDGE




          1
           Local Rule 7.1 of the Local Civil Rules for the Northern District of Texas requires the filing of briefs in support of
most motions. Pursuant to subsection (d), briefs shall contain a “party’s contentions of fact and/or law, and arguments and
authorities.” (emphasis added). Briefs containing authorities greatly assist the Court in making rulings more expeditiously.
